Case 0:19-cv-60839-WPD Document 29 Entered on FLSD Docket 01/22/2020 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CONSOLIDATED ACTION
                                                              CASE NO.: 0:19-cv-60839-WPD

   RONALD D GENTILE, individually
   and on behalf of all others similarly situated

          Plaintiff,
   vs.

   I.C. SYSTEM, INC.,

          Defendant.

                                                             CASE NO.: 0:19-cv-61663-WPD

   STACYE PETERSON, individually
   and on behalf of all others similarly situated

          Plaintiff,
   vs.

   I.C. SYSTEM, INC.,

         Defendant.
   ____________________________________/

                               ORDER SCHEDULING MEDIATION

         The mediation conference in this matter shall be before STEVEN R. JAFFE at 11:00 a.m.

  on August 25, 2020, at Upchurch Watson White & Max, 900 South Pine Island Road, Suite 410,

  Plantation, Florida 33324.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida on

  the 22nd day of January, 2020.
Case 0:19-cv-60839-WPD Document 29 Entered on FLSD Docket 01/22/2020 Page 2 of 2



  Copies furnished to:
  All Counsel of Record
